       Case 4:08-cv-02993-JSW Document
        Case4:08-cv-02993-JSW          404 Filed
                              Document402        11/03/14 Page1
                                           Filed10/31/14  Page 1ofof13
                                                                     13



 1

 2

 3

 4

 5

 6

 7

 8                                    UNITED STATES DISTRICT COURT

 9                                 NORTHERN DISTRICT OF CALIFORNIA

10   ROOSEVELT KAIRY, LARRY BROWN,                Case No. 4:08-CV-02993 JSW
     WAYNE DICKSON, DRAKE OSMUN,
11   HARJINDER SINGHDIETZ,                         REVISED
     FREDERICK FERNANDEZ, YURIK
12   ZADOV, and MUNIR AHMED on behalf              [PROPOSED] ORDER GRANTING
     of themselves and all others similarly        PLAINTIFFS’ MOTION FOR FINAL
13   situated,                                     APPROVAL OF CLASS AND COLLECTIVE
14                                                 ACTION SETTLEMENT
                            Plaintiffs,
15             v.
16   SUPERSHUTTLE INTERNATIONAL,
     INC. and SUPERSHUTTLE FRANCHISE
17   CORPORATION, d.b.a.
     SUPERSHUTTLE; CLOUD 9 SHUTTLE,
18   INC.; SUPERSHUTTLE OF SAN
     FRANCISCO, INC.; MINI-BUS
19   SYSTEMS, INC.; SUPERSHUTTLE LOS
     ANGELES, INC.; AND SACRAMENTO
20   TRANSPORTATION SERVICES, INC.,
     and DOES 1 through 20, inclusive,
21
                            Defendants.
22

23

24

25   ///

26   ///

27   ///
28

              REVISED [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR FINAL APPROVAL
                                      CASE NO. 4:08-CV-02993 JSW
     041022/2007-1080.080
       Case 4:08-cv-02993-JSW Document
        Case4:08-cv-02993-JSW          404 Filed
                              Document402        11/03/14 Page2
                                           Filed10/31/14  Page 2ofof13
                                                                     13



1              INTRODUCTION

2    On October 31, 2014, this Court held a hearing on Plaintiffs’ Motion for Final Approval of Class

3    and Collective Action Settlement, at which all named parties were represented. Due and adequate

4    notice having been given to the Class Members, and the Court having considered the Settlement

5    Agreement, all papers and proceedings had herein, and all oral and written comments received

6    regarding the proposed Settlement, and having reviewed the records in this case, and good cause

7    appearing, the Court HEREBY ORDERS THE FOLLOWING:

8              DEFINITIONS

9         1. This Order incorporates by reference the definitions contained in the Class Action

10             Settlement Agreement and Release of Claims (“Agreement”) attached as Exhibit 1 to the

11             Declaration of Aaron Kaufmann in Support of Plaintiffs’ Motion for Preliminary

12             Approval of Class Action Settlement (ECF# 383-1), and all terms used in this Order shall

13             have the same meaning as set forth in the Agreement.

14             JURISDICTION

15        2. This Court has jurisdiction over the subject matter of this Lawsuit and all matters relating

16             thereto, and over all parties to the Lawsuit.

17             CONFIRMATION OF SETTLEMENT CLASSES

18        3. The Court confirms as final its preliminary certification in the June 12, 2014 Order of the

19             Settlement Class, as that term is defined in and by the terms of the Agreement. With

20             respect to the Settlement Class and for purposes of approving this Settlement only, this

21             Court finds and concludes that: (a) the Members of the Settlement Class are ascertainable

22             and so numerous that joinder of all members is impracticable; (b) there are questions of

23             law or fact common to the Settlement Class, and there is a well-defined community of

24             interest among Members of the Settlement Class with respect to the subject matter of the

25             Lawsuit; (c) the claims of the Class Representatives are typical of the claims of the other

26             members of the Settlement Class; (d) the Class Representatives have fairly and adequately

27             protected the interests of the Settlement Class; (e) a class action is superior to other

28             available methods for an efficient adjudication of this controversy; and (f) the counsel of
                                                        -1-
               REVISED [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR FINAL APPROVAL
                                       CASE NO. 4:08-CV-02993 JSW
     041022/2007-1080.080
     Case 4:08-cv-02993-JSW Document
      Case4:08-cv-02993-JSW          404 Filed
                            Document402        11/03/14 Page3
                                         Filed10/31/14  Page 3ofof13
                                                                   13



1        record for the Class Representatives, i.e., Class Counsel, are qualified to serve as class

2        counsel.

3     4. The Court confirms as final the appointment of Roosevelt Kairy, Larry Brown, Wayne

4        Dickson, Drake Osmun, Harjinder Dubb, Frederick Fernandez, Yurik Zadov, and Munir

5        Ahmed as class representatives.

6     5. The Court confirms as final the appointment of Plaintiffs’ law firms, Leonard Carder,

7        LLP; Rukin Hyland Doria & Tindall LLP; Lewis Feinberg, Lee, Renaker & Jackson, P.C.;

8        and Bryan Schwartz Law as Class Counsel.

9        SETTLEMENT APPROVAL

10    6. The Court finds that the distribution of Class Notice Packages as provided for in the June

11       12, 2014 Order granting preliminary approval constituted the best notice practicable under

12       the circumstances to all persons within the definitions of the Settlement Class, and fully

13       met the requirements of due process under the United States Constitution and California

14       law with respect to those Settlement Class Members to whom Notice was mailed. Based

15       on evidence and other material submitted in conjunction with the Settlement, the actual

16       notices to Settlement Class Members were adequate, except as expressly stated herein.

17    7. Pursuant to Fed. R. Civ. P. 23(e), this Court grants final approval to the Agreement and

18       the Settlement set forth therein, and orders the parties to implement, and comply with, its

19       terms. The Court finds that the Agreement and the Settlement set forth therein is fair,

20       reasonable, and adequate in all respects, and that it is binding on all members of the

21       Settlement Class, except as set forth in Paragraphs 13-16 below. The Court specifically

22       finds that this Settlement affords substantial monetary and non-monetary relief to the

23       Class, and is rationally related to the strength of Plaintiffs’ claims given the risk, expense,

24       complexity, and duration of further litigation. This Court also finds that the Agreement is

25       the result of arms’-length negotiations between experienced counsel representing the

26       interests of the Class and Defendants, after thorough factual and legal investigation. The

27       Court further finds that the response of the Classes to the Settlement supports final

28       approval, in that only one class member has objected to the proposed Settlement and only
                                                   -2-
         REVISED [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR FINAL APPROVAL
                                 CASE NO. 4:08-CV-02993 JSW
     Case 4:08-cv-02993-JSW Document
      Case4:08-cv-02993-JSW          404 Filed
                            Document402        11/03/14 Page4
                                         Filed10/31/14  Page 4ofof13
                                                                   13



1        twelve out of more than 3,000 Class Members have excluded themselves from the

2        Settlement.

3     8. The Court finds that the negotiated operational changes detailed in Exhibit A to the

4        Agreement have significant value to certain class members (franchisees and associate

5        drivers still operating shuttle vans franchised through defendant City Licensees), and that

6        these changes further enhance the independence of the operators, provide further

7        entrepreneurial opportunities, and provide certain clarifications that strengthen the

8        independent contractor status of these class members on a going-forward basis.

9     9. The Court finds that the proposed plan of allocation is rationally related to the relative

10       strengths and weaknesses of the respective claims asserted. The mechanisms and

11       procedures set forth in the Agreement by which payments are to be calculated and made to

12       Class Members are fair, reasonable, and adequate. Payment shall be made according to

13       those allocations and pursuant to the procedure set forth in the Agreement and this Order.

14    10. Plaintiffs have requested approval of a payment from the aggregate settlement fund of

15       $7,500 to the California Labor and Workforce Development Agency (LWDA) in

16       settlement of the California Class’ PAGA claims. The Court finds that this LWDA

17       payment is fair, adequate, and reasonable and approves a payment to the LWDA in the

18       amount of $7,500.

19    11. Plaintiffs have requested appointment of the Legal Aid Society-Employment Law Center

20       (San Francisco, CA) as cy pres beneficiary. Because the Legal Aid Society-Employment

21       Law Center meets the test under Dennis v. Kellogg Co., 697 F.3d 858, 865 (9th Cir. 2013)

22       that “there be a driving nexus between the plaintiff class and the cy pres beneficiaries,”

23       the Court hereby designates the Legal Aid Society-Employment Law Center as cy pres

24       beneficiary for receipt of undistributed funds as provided under the Agreement and this

25       Order.

26    12. By operation of this Order and upon the effective date of the Judgment, the Class

27       Representatives shall release, relinquish, and discharge all claims against the Releasees

28       released under the terms of Paragraph 65 Settlement Agreement.
                                                 -3-
         REVISED [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR FINAL APPROVAL
                                 CASE NO. 4:08-CV-02993 JSW
     Case 4:08-cv-02993-JSW Document
      Case4:08-cv-02993-JSW          404 Filed
                            Document402        11/03/14 Page5
                                         Filed10/31/14  Page 5ofof13
                                                                   13



1     13. By operation of this Order and upon the effective date of the Judgment, all Settlement

2        Class Members who have not opted out of the Settlement shall be deemed to have, and by

3        operation of the Judgment shall have, fully, finally, and forever released, relinquished, and

4        discharged all Released Claims against the Releasees as set forth in Paragraph 63 of the

5        Settlement Agreement, except as set forth in Paragraph 16 below.

6     14. From the Net Settlement Fund KCC shall create a reserve fund equal to the value of the

7        claims of the 130 Class Members who have not been mailed Notice (“No Address Class

8        Members”) and the 136 Class Members who were mailed Notice but whose Notice was

9        returned as undeliverable (“Bad Address Class members”) (collectively “Undelivered

10       Notice Class Members”). A list of these 266 Class Members is attached as Exhibit A to

11       this Order. The value of this reserve fund will be held back from the Settlement, in the

12       Qualified Settlement Fund by KCC, and available to pay any of these 266 Class Members

13       whose address information is obtained within12 months of the final approval order.

14    15. Efforts to locate address information for the 130 No Address Class Members will

15       continue. These efforts will include attempted communication with primary operators

16       who may have contact information for secondary operators.

17    16. As any of the 266 Undelivered Notice Class Members are located or come forward, KCC

18       will mail them Notice and provide them with an opportunity to exclude themselves from

19       the Settlement. Those who are mailed Notice and do not exclude themselves from the

20       Settlement will receive their share of the Settlement and be bound by the Release.

21    17. On October 31, 2015, any of the 266 Undelivered Notice Class Members who have still

22       not been mailed Notice will be excluded from the Settlement and shall not be bound by

23       the Release. The dollars attributable to their shares of settlement will be disbursed to the

24       cy pres beneficiary.

25    18. The Lawsuit is hereby dismissed with prejudice.

26    19. The Court reserves exclusive and continuing jurisdiction over the Lawsuit for the

27       purposes of supervising the implementation, enforcement, construction, administration

28       and interpretation of the Settlement Agreement and this Judgment.
                                                  -4-
         REVISED [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR FINAL APPROVAL
                                 CASE NO. 4:08-CV-02993 JSW
      Case 4:08-cv-02993-JSW Document
       Case4:08-cv-02993-JSW          404 Filed
                             Document402        11/03/14 Page6
                                          Filed10/31/14  Page 6ofof13
                                                                    13



1       20. This document shall constitute a judgment (and separate document constituting said

2          judgment) for purposes of Federal Rule of Civil Procedure 58.

3       21. The Court finds that notice of the Settlement was served upon all appropriate Federal and

4          State officials on July 18, 2014 pursuant to the Class Action Fairness Act of 2005

5          (“CAFA”), 28 U.S.C. § 1715.

6
     IT IS SO ORDERED.
7
8
9    Dated: November 3, 2014
                                          HONORABLE JEFFREY S. WHITE
10                                        United States District Court Judge

11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                   -5-
           REVISED [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR FINAL APPROVAL
                                   CASE NO. 4:08-CV-02993 JSW
Case 4:08-cv-02993-JSW Document
 Case4:08-cv-02993-JSW          404 Filed
                       Document402        11/03/14 Page7
                                    Filed10/31/14  Page 7ofof13
                                                              13
Case 4:08-cv-02993-JSW Document
 Case4:08-cv-02993-JSW          404 Filed
                       Document402        11/03/14 Page8
                                    Filed10/31/14  Page 8ofof13
                                                              13
Case 4:08-cv-02993-JSW Document
 Case4:08-cv-02993-JSW          404 Filed
                       Document402        11/03/14 Page9
                                    Filed10/31/14  Page 9ofof13
                                                              13
Case 4:08-cv-02993-JSW Document
 Case4:08-cv-02993-JSW          404 Filed
                       Document402        11/03/14 Page10
                                    Filed10/31/14  Page 10ofof13
                                                               13
Case 4:08-cv-02993-JSW Document
 Case4:08-cv-02993-JSW          404 Filed
                       Document402        11/03/14 Page11
                                    Filed10/31/14  Page 11ofof13
                                                               13
Case 4:08-cv-02993-JSW Document
 Case4:08-cv-02993-JSW          404 Filed
                       Document402        11/03/14 Page12
                                    Filed10/31/14  Page 12ofof13
                                                               13
Case 4:08-cv-02993-JSW Document
 Case4:08-cv-02993-JSW          404 Filed
                       Document402        11/03/14 Page13
                                    Filed10/31/14  Page 13ofof13
                                                               13
